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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                  Judge Christine M. Arguello

Criminal Case No. 17-cr-00334-CMA

UNITED STATES OF AMERICA,

              Plaintiff,
v.

MARCO CASTRO-CRUZ,

              Defendant.


                                   NOTICE OF APPEAL


      Notice is hereby given that the Defendant, Marco Castro-Cruz (hereinafter "Defendant"),

hereby appeals to the United States Court of Appeals for the Tenth Circuit (USCA) from his

sentence imposed pursuant to Judgment entered February 6, 2018. (doc # 20).

       Dated 13th day of February, 2018.

                                           Respectfully submitted,

                                           LAW OFFICE OF BOSTON H. STANTON, JR.


                                           s/Boston H. Stanton, Jr.
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                                           ATTORNEY FOR MARCO CASTRO-CRUZ
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                                           of 2




                                CERTIFICATE OF SERVICE

        I hereby certify that on February 13, 2018, I electronically filed the foregoing NOTICE
OF APPEAL with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to the following e-mail addresses:

Guy Till guy.till@usdoj.gov

Barbara Skalla barbara.skalla@usdoj.gov

Bradley Giles bradley.giles@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following non
CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
name:

Marco Castro-Cruz
c/o FDC, Englewood, CO

                                            s/Boston H. Stanton, Jr.
                                            LAW OFFICE OF BOSTON H. STANTON, JR.




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